Case 8:19-cv-03125-TPB-CPT   Document 11-1   Filed 02/27/20   Page 1 of 5 PageID 79




                                 Exhibit A
Case 8:19-cv-03125-TPB-CPT   Document 11-1   Filed 02/27/20   Page 2 of 5 PageID 80
Case 8:19-cv-03125-TPB-CPT   Document 11-1   Filed 02/27/20   Page 3 of 5 PageID 81
Case 8:19-cv-03125-TPB-CPT   Document 11-1   Filed 02/27/20   Page 4 of 5 PageID 82
Case 8:19-cv-03125-TPB-CPT   Document 11-1   Filed 02/27/20   Page 5 of 5 PageID 83
